EXhibit D

(Forensic Division Lab Report)

SOUTH CAROLINA LAW ENFORCEMENT DIVISI()N

FORE.NSIC SERVICES LABORATORY REPORT

NIKKI R. HALEY
(]0verno/'

 

MARK A. KEEL
(`/u'ef

Derrick Rash TOX|COLOGY DEPARTMENT

Greenwood County Coroner's Oft“lce Apri| 15. 2016
SLED NOZ L16-O3565

Your Case No: 34160029
incident Date; 03/‘| 3/2016

600 |Vlonument St., Suite 115
Greenwood, SC 29648

[V-Deceased] Cowan Desmond

Demetric

 

This is an och:ia| report of the South Caro|ina Law Enforcement Division Forensic Services Laboratory and is to be
used in connection with an official criminal investigation These examinations were conducted under your assurance
that no previous examinations of person(s) or evidence submitted in this case have been or will be conducted by any

other laboratory or agency.

Mark A. Kee|, Chief

South Caro|ina Law Enforcement Division

 

lTEMS OF EV|DENCE

ltem: 4 Sample Type: Blood (Toxico|ogy) - labeled "COWAN, DEMETR|A

DESN|OND OA-‘l 6-0000053"

Ana|ysis by Headspace Gas Chromatography (GC) andlor Headspace Gas ChromatographylMass Spectrometry (GC!MS)

 

 

 

 

 

Ana|yte Resu|t Units Th resho|d
Ethano| Negative % (Q/dL) 0-010
Nlethano| Negative % (Q/d L) 0-010
Acetone Negative °/° (Q/d L) 0-010
lsopropanol Negative % (Q/d L) 0~010

CA L EA
\N .Asci.t)/L,~\ia-/mt-,~m,n.~,.,/ _-\c'c‘itL=r)ii'i¢;u 'riasi‘u\=o i..»-\BoR,-x'roiw smcra 0‘);1‘)'20 1 4

P.O. Box 21398, Columbia, South Carolina 29221-1398 Phone (803) 896-7300 Fax (803) 896~7351

SLED - Cowan 000098

SLED No :L16-03565
4/15/16

Page 2 of 3

 

Screen by Enzyme Linked |mmunosorbant Assay (EL|SA)

 

 

 

 

 

 

 

 

 

 

 

Ana|yte Resu|t Units Threshold
Amphetamine Negative mg/L 0.100
Benzodiazepines Negative mg/L 0.050
Buprenorphine Negative pg/L 1 .000
Carisoprodo| Negative mg/L 0.500
Methadone Negative mg/L 0.050
Nlethamphetamine Negative mg/L 0. 100
Opiates Negative mg/L 0.075
Oxycodone Negative mg/L 0.075
Tramado| Negative mg/L 0.050
Zo|pidem Negative mg/L 0.020

Analysis by Gas Chromatography/Mass Spectrometry (GCIMS)

Analyte Result Units Thresho|d
Cocaine 514 mg/L
Benzoy|ecgonine 5.2 mQ/L

Synonyms: BE, Cocaine metabolite/hydro|ysis product
Tetrahydrocannabino| 14 pg/L 2.000
Synonyms: THC
11-hyd roxy-Tetrahydrocannabinol 2_7 pg/L 2 .000
Synonyms: THC metabolite
11 -carboxy~Tetrahydrocannabinol 23 ug/L 2.000
Synonyms: THC metabolite
Levamisole Positive mg/L
Comprehensive Analysis
A comprehensive drug screen utilizing gas chromatography/mass
spectrometry and liquid chromatographyitandem mass
spectrometry was performed on this sample With the exception of
the compound(s) listed, no other drugs or poisons of concern were
found.
CALEA
Al.i-ss~)h'
..m .asci.i)/i,.-\iz-/mt-»~mm.mu) f\c.'<“Rl;i)rn;u .rr;s'rixc i..=\isoRA'ronv sixch iw.~ 1020 14

P.O. Box 21398, Columbia. South Caro|ina 29221-1398 Phone (803) 896~7300 Fax (803) 596-7351

SLED - Cowan 000099

SLED No :L16-03565 Page 3 of 3

4/15/16

ltem: 5 Sample Type: Blood standard - labeled "COWAN, DEMETR|
OA-XX-XXXXXXX"

No Analysis Perfom'ied

 

ltem: 6 Sample Type: Pubic hair combings - labeled "COWAN, DEMETR|A
DESMOND OA-16-OOOOO53"

No Analysis Performed

 

ltem: 7 Sample Type: Gastric - labeled "Cowan, Demetric OA-16-53"

 

No Analysis Pertormed

ltem: 10 Sample Type: Fingernai| clippings - Two containers labeled "COWAN,
DEN|ETR|A DESMOND OA-XX-XXXXXXX"

No Analysis Performed

T/iis rc])orl contains fha conclusions. opinions and i/')rerpl‘emlions inhe ami/yu whose signature appears below

Carmen J. Tucker
Forensic Toxioologist

CC: Slizewsl<i, Adam - South Caro|ina Law Enforcement Division

For any additional interpretation of results please contact the Toxico|ogist above at the SLED Toxicology Deparlment . (803) 896-7385.

 

CALEA

 

.~\N ASC`LD,‘L.-\B-inlt-rnulrmm/.-\C`(.'RED|TE[) 'l'ES'l`lNG L.~\BOR.-\'l'OR\' SlNC|;' 0‘15|\).-'20|4
P.O. Box 21398, Columbia, South Carolina 29221-1398 Phone (803) 896-7300 Fax (803) 896-7351

SLED - COWan 000100

